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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

KRISTINA MIRE, MD             *      CIVIL ACTION NO. 2:15-cv-06965
                              *
VERSUS                        *      JUDGE SARAH S. VANCE
                              *
LSU HEALTH SCIENCES CENTER    *      MAGISTRATE JUDGE JOSEPH C.
                              *      WILKINSON, JR.
                              *
*    *   *     *    *    *    *
                      JOINT RULE 26(f) REPORT
       NOW COME all the parties in the above captioned suit, who hereby represent that counsel

for all parties conferred via telephone conference on Thursday, May 5, 2016 pursuant to 26(f) of

the Federal Rules of Civil Procedure. Present on the phone call were Dona Dew and Bridget Nalley

on behalf of the Plaintiff, Dr. Kristina Mire, and Thomas Peak on behalf of the Defendants, the

Board of Supervisors of Louisiana State University and Agricultural and Mechanical College

(alleged to have been erroneously named as “LSU Health Sciences Center”), Dr. Bonnie Desselle,

and Dr. Ricardo Sorenson. The parties discussed the topics set forth in Rule 26(f) and jointly make

the following report.

   1. The parties discussed the nature and basis of their claims and determined that settlement

       discussions are premature at this time.

   2. The parties will make their Initial Disclosures within 14 days of the date of the Rule 26(f)

       Conference as required by Rule 26(a)(1)(C). In addition to those items set forth in Rule

       26(a), the parties will provide each other with all documents and information which was

       provided by each party to the EEOC and the Department of Justice during the course of the



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   investigation of this claim. In addition, the Defendants request, and Dr. Mire has agreed

   that the Plaintiff’s Initial Disclosures include copies of the Plaintiff’s first communications

   with the Equal Employment Opportunity Commission. Dr. Mire has requested and

   Defendants have agreed that the Defendants’ Initial Disclosure include Dr. Mire’s entire

   Resident File as outlined in the Resident File Checklist Guidelines. All documents

   submitted as an attachment or exhibit to any party’s Initial Disclosures shall be produced

   on a CD as opposed to paper records.

3. The parties discussed discovery deadlines and agreed that, with the Court’s approval, the

   cutoff for the disclosure of experts shall be August 15, 2016, and that all discovery shall

   be complete by October 31, 2016. However, the Parties acknowledged that an extension

   of the discovery cut-off might be necessary should the advent of the summer holidays

   prevent completion by October 31, 2016.

4. The parties discussed the assertions of privilege in response to discovery requests. They

   agreed that all privilege assertions shall include a detailed description of the nature of the

   privilege asserted and a list of the documents or category of documents in their respective

   possession or under their respective control to which they assert it applies.

5. The parties discussed the disclosure of confidential information in response to discovery

   requests, including but not limited to the Plaintiff’s confidential medical records. They

   agreed that any requested discoverable and confidential information shall be disclosed

   pursuant to a signed release and a Protective Order. The format for the Protective Order

   shall be jointly agreed upon by all parties and submitted to the Court for approval.

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                             Respectfully submitted,

                             NALLEY AND DEW
                             A Professional Law Corporation

                             /s/ Dona J. Dew______________
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                             Ricardo Sorenson and the Board of Supervisors of
                             Louisiana State University and Agricultural and
                             Mechanical College




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                              CERTIFICATE OF CONFERENCE

          I do hereby certify that, on May 5, 2016, I circulated by email a draft Joint Rule 26(f)

Report to counsel for all parties. Thomas Peak, counsel for the Defendants, the Board of

Supervisors of Louisiana State University and Agricultural and Mechanical College (allegedly

mis-named in the complaint as LSU Health Sciences Center), Dr. Bonnie Desselle, and Dr. Ricardo

Sorenson, commented on the draft report and those comments are reflected in the report being filed

herein.


                           ___________/s/ Dona J. Dew______________
                                  NALLEY AND DEW, APLC



                                CERTIFICATE OF SERVICE

          I do hereby certify that on this 5th day of May, 2016, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent

to all known counsel electronically via the CM/ECF system. I further certify that I have served a

copy of the foregoing pleading on all parties to this proceeding not registered for electronic service

by emailing, faxing, and/or mailing the same by United States Mail, properly addressed and first

class postage prepaid.



                           ___________/s/ Dona J. Dew______________
                                  NALLEY AND DEW, APLC



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